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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                     CHAPTER 7

WAYNE LEE BREWSTER                                         CASE NO. 11-68628 SMS
MARLENE WILLIAMS BREWSTER


                       Debtors.


                CHAPTER 7 TRUSTEE’S REPORT OF NO DISTRIBUTION
                      FOR DEBTOR WAYNE LEE BREWSTER

         I, S. Gregory Hays, having been appointed trustee of the estate of the above-named

debtors, report the filing of a Report of No Distribution as to the Debtor, Wayne Lee Brewster. I

have neither received any property nor paid any money on account of this estate; that I have

made a diligent inquiry into the financial affairs of the Debtor and the location of the property

belonging to the estate; and that there is no property available for distribution from the estate

over and above that exempted by law. Pursuant to Fed R Bank P 5009, I hereby certify that the

estate of the above-named debtor, Wayne Lee Brewster, has been fully administered. I request

that I be discharged from any further duties as trustee.

         This 6th day of August, 2018.

                                                            /s
                                                      S. Gregory Hays
                                                      Chapter 7 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Road NW, Suite 555
Atlanta, GA 30305-2153
(404) 926-0060
